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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             Case No.: 12-cv-60460-MIDDLEBROOKS


   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   THE STATE OF FLORIDA,

          Defendant.

                                                /

                       MOTION FOR LEAVE TO WITHDRAW AS COUNSEL
                        FOR PLAINTIFF UNITED STATES OF AMERICA

          Pursuant to Southern District of Florida Local Rule 11.1(d)(3), Elizabeth McDonald
   hereby moves for leave to withdraw as counsel for Plaintiff United States of America and states
   the following:

          1. Ms. Elizabeth McDonald will soon leave her position with the U.S. Department of
              Justice.
          2. Other attorneys at the U.S. Department of Justice, including James Fletcher, H. Justin
              Park, and Amanda B. Pearlstein, each at 950 Pennsylvania Ave., NW (4CON),
              Washington, D.C. 20530, will continue to represent the United States of America in
              this matter.
          3. As required by Southern District of Florida Local Rule 11.1(d)(3), Ms. Elizabeth
              McDonald notified opposing counsel of her intent to withdraw, who has no objection
              to the withdrawal.

          Accordingly, Ms. Elizabeth McDonald respectfully requests that she be permitted leave
   to withdraw as counsel for the United States of America, for the reasons set forth above.
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    Dated: May 5, 2025                 Respectfully submitted,


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    United States Attorney             Chief
    Southern District of Florida
                                       ANNE S. RAISH
    /s/ Chantel Doakes Shelton         Principal Deputy Chief
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